       Case 4:20-cv-08424-HSG Document 1 Filed 11/30/20 Page 1 of 16



 1   PAUL L. REIN, Esq. (SBN 43053)
     AARON M. CLEFTON, Esq. (SBN 318680)
 2   REIN & CLEFTON, Attorneys at Law
     200 Lakeside Drive, Suite A
 3   Oakland, CA 94612
     Telephone: 510/832-5001
 4   Facsimile: 510/832-4787
     info@reincleftonlaw.com
 5
     Attorneys for Plaintiff
 6   JAMES LLEWELLYN
 7
                                    UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9

10
      JAMES LLEWELLYN,                                CASE NO.
11                                                    Civil Rights
             Plaintiff,
12                                                    COMPLAINT FOR PRELIMINARY AND
             v.                                       PERMANENT INJUNCTIVE RELIEF AND
13                                                    DAMAGES: DENIAL OF CIVIL RIGHTS
      AZTECA GOLDEN PARTNERS, INC.                    AND ACCESS TO PUBLIC FACILITIES TO
14    dba LA TAPATIA MEXICAN                          PHYSICALLY DISABLED PERSONS, PER
      RESTAURANT & CANTINA                            FEDERAL AND CALIFORNIA STATUTES
15    CONCORD; FRED R. DOSTER 2003                    (including CIVIL CODE §§ 51, 52, 54, 54.1,
       TRUST                                          54.3 and 55; and HEALTH & SAFETY CODE
16                                                    §§ 19953 et seq.); INJUNCTIVE RELIEF PER
             Defendants.                              TITLE III, AMERICANS WITH
17                                                    DISABILITIES ACT OF 1990 (including 42
                                                      USC §§ 12181 et seq.)
18
                                                      DEMAND FOR JURY TRIAL
19

20          Plaintiff JAMES LLEWELLYN complains of Defendants AZTECA GOLDEN

21   PARTNERS, INC. dba LA TAPATIA MEXICAN RESTAURANT & CANTINA CONCORD;

22   FRED R. DOSTER 2003 TRUST, and each of them, and alleges as follows:

23          1.      INTRODUCTION: This case involves a lack of access to the public restrooms,

24   including a lack of grab bars, and other barriers to disabled access that prevented and continue to

25   prevent disabled Plaintiff JAMES LLEWELLYN from fully accessing the La Tapatia Mexican

26   Restaurant located at 1802 Willow Pass Road, Concord, California. Defendants’ inaccessible

27   restroom caused Plaintiff to suffer a humiliating bodily functions accident, and other barriers

28   caused him difficulty there.
                                                       1
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
        Case 4:20-cv-08424-HSG Document 1 Filed 11/30/20 Page 2 of 16



 1           2.      Defendants denied disabled Plaintiff JAMES LLEWELLYN accessible public
 2   facilities, including a compliant accessible restroom at the La Tapatia Mexican Restaurant.
 3   Plaintiff JAMES LLEWELLYN is a “person with a disability” or “physically handicapped
 4   person” who requires the use of a wheelchair for mobility. He is unable to use portions of public
 5   facilities which are not accessible to mobility disabled persons. On or about March 3, 2020,
 6   Plaintiff was denied his rights to full and equal access at La Tapatia Mexican Restaurant. He was
 7   denied his civil rights under both California law and federal law, and continues to have his rights
 8   denied, because these facilities were not, and are not now, properly accessible to physically
 9   disabled persons, including those who use assistive devices for mobility.
10           3.      Plaintiff seeks injunctive relief to require Defendants to make these facilities
11   accessible to disabled persons and to ensure that any disabled person who attempts to patronize
12   the subject premises will be provided accessible facilities. Plaintiff also seeks recovery of
13   damages for his discriminatory experiences and denial of access and of civil rights, which denial
14   is continuing as a result of Defendants’ failure to provide disabled accessible facilities. Plaintiff
15   also seeks recovery of reasonable statutory attorney fees, litigation expenses and costs, under
16   federal and state law.
17           4.      JURISDICTION: This Court has jurisdiction of this action pursuant to 28 USC
18   section 1331 for violations of the Americans with Disabilities Act of 1990, 42 USC
19   sections 12101 et seq. Pursuant to pendant jurisdiction, attendant and related causes of action
20   arising from the same facts are also brought under California law, including but not limited to
21   violations of Health & Safety Code sections 19953-19959; California Civil Code sections 51, 52,
22   54, 54.1, 54.3 and 55; and Title 24 California Code of Regulations, the California State Building
23   Code.
24           5.      VENUE: Venue is proper in this court pursuant to 28 USC section 1391(b) and is
25   founded on the fact that the real property which is the subject of this action is located in this
26   district and that Plaintiff’s causes of action arose in this district.
27           6.      INTRADISTRICT: This case should be assigned to the Oakland intradistrict as
28   the real property which is the subject of this action is located in this intradistrict and Plaintiff’s
                                                           2
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
        Case 4:20-cv-08424-HSG Document 1 Filed 11/30/20 Page 3 of 16



 1   causes of action arose in this intradistrict.
 2           7.      PARTIES: Plaintiff is a “qualified” physically disabled person who cannot walk
 3   due to Multiple Sclerosis and who requires use of a wheelchair for locomotion. He owns a
 4   disabled licensed vehicle which entitles him to park in a properly configured disabled accessible
 5   parking space. He has been issued a California state placard for disabled parking.
 6           8.      Defendants AZTECA GOLDEN PARTNERS, INC. dba LA TAPATIA
 7   MEXICAN RESTAURANT & CANTINA CONCORD; FRED R. DOSTER 2003 TRUST, are
 8   and were the owners, operators, lessors and/or lessees of the subject business, property and
 9   buildings at all times relevant to this Complaint. Plaintiff is informed and believes that each of
10   the Defendants herein is the agent, employee or representative of each of the other Defendants,
11   and performed all acts and omissions stated herein within the scope of such agency or
12   employment or representative capacity and is responsible in some manner for the acts and
13   omissions of the other Defendants in proximately causing the damages complained of herein.
14           9.      La Tapatia Mexican Restaurant is a place of “public accommodation” and
15   “business establishment” subject to the requirements of multiple categories of 42 USC
16   section 12181(7)(B) of the Americans with Disabilities Act of 1990, including a “restaurant, bar,
17   or other establishment serving food or drink” of California Health & Safety Code sections 19953
18   et seq.; of California Civil Code sections 51 et seq.; and of California Civil Code sections 54 et
19   seq. On information and belief, La Tapatia Mexican Restaurant and its facilities were built after
20   July 1, 1970, and since then have undergone construction and/or “alterations, structural repairs, or
21   additions,” subjecting each such facility to disabled access requirements per Health & Safety
22   Code sections 19953-19959 et seq., and, as to construction and/or alterations since January 26,
23   1993, to the disabled access requirements of section 12183 of the Americans with Disabilities Act
24   of 1990. Such facilities constructed or altered since 1982 are also subject to “Title 24,” the
25   California State Architect’s Regulations, also known as the California Building Code. Further,
26   irrespective of the alteration history, such premises are subject to the “readily achievable” barrier
27   removal requirements of Title III of the Americans with Disabilities Act of 1990, as defined by
28   the ADA. 42 USC §§ 12181(9) and 12182(2)(A)(iv) and (v).
                                                        3
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
       Case 4:20-cv-08424-HSG Document 1 Filed 11/30/20 Page 4 of 16



 1                                 FIRST CAUSE OF ACTION:
                                 DAMAGES AND INJUNCTIVE RELIEF
 2            FOR DENIAL OF FULL AND EQUAL ACCESS TO PUBLIC FACILITIES IN A
                                     PUBLIC ACCOMMODATION
 3               (California Health & Safety Code §§ 19955 et seq; Civil Code §§ 54 et seq.)
 4           10.     Plaintiff repleads and incorporates by reference, as if fully set forth again herein,

 5   the factual allegations contained in Paragraphs 1 through 9, above, and incorporates them herein

 6   by reference as if separately repled hereafter.

 7           11.     Plaintiff JAMES LLEWELLYN and other similarly situated physically disabled

 8   persons, including those who require the use of an assistive device for mobility, are unable to use

 9   public facilities on a “full and equal” basis unless each such facility is in compliance with the

10   provisions of California Health & Safety Code sections 19955 -19959. Plaintiff is a member of

11   that portion of the public whose rights are protected by the provisions of Health & Safety Code

12   sections 19955 et seq. Further, Plaintiff is also protected against policy and architectural barrier

13   discrimination by California Civil Code sections 54 and 54.1, the “Disabled Persons Act.”

14   “Individuals with disabilities or medical conditions have the same right as the general public to

15   the full and free use of the streets, highways, sidewalks, walkways, public buildings, medical

16   facilities, including hospitals, clinics, and physicians’ offices, public facilities, and other public

17   places.” Civil Code § 54(a). Furthermore, “Individuals with disabilities shall be entitled to full

18   and equal access, as other members of the general public, to accommodations, advantages,

19   facilities . . . places of public accommodation, amusement, or resort, and other places to which the

20   general public is invited.” Civil Code § 54.1(a). Additionally, any violation of the ADA,

21   including but not limited to any violation of 42 USC sections 12182 and 12183, is also

22   incorporated as a violation of the Disabled Persons Act. Civil Code §§ 54(c), and 54.1(d).

23           12.     Title 24, California Code of Regulations, formerly known as the California

24   Administrative Code and now also known as the California Building Code, was in effect at the

25   time of each alteration which, on information and belief, occurred at such public facility since

26   January 1, 1982, thus requiring access complying with the specifications of Title 24 whenever

27   each such “alteration, structural repair or addition” was carried out. On information and belief,

28   Defendants and/or their predecessors in interest carried out new construction and/or alterations,
                                                          4
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
       Case 4:20-cv-08424-HSG Document 1 Filed 11/30/20 Page 5 of 16



 1   structural repairs, and/or additions to such buildings and facilities during the period Title 24 has
 2   been in effect. Further, Plaintiff alleges, on information and belief, that construction, alterations,
 3   structural repairs, and/or additions which triggered access requirements at all relevant portions La
 4   Tapatia Mexican Restaurant, also occurred between July 1, 1970, and December 31, 1981, and
 5   required access pursuant to the A.S.A. (American Standards Association) Regulations then in
 6   effect, pursuant to the incorporated provisions of California Government Code sections 4450 et
 7   seq. Further, on information and belief, additions to the building after the initial construction also
 8   occurred after January 1, 1972, triggering access requirements per Health and Safety Code section
 9   19959. Alterations or additions after January 26, 1993 trigger ADA liability and requirements per
10   42 USC sections 12182 and 12183 of the ADA.
11          13.     FACTUAL STATEMENT: Plaintiff is a person disabled by multiple sclerosis
12   that affects his ability to walk and his balance. He uses a motorized wheelchair for locomotion.
13   He has a disabled placard that he uses when he travels by motor vehicle.
14          14.     On or about March 3, 2020, Plaintiff decided to take his son and his friend out for
15   a meal at La Tapatia Mexican Restaurant in Concord. After they found a table and ordered their
16   meal, Plaintiff had a need to use the restroom. He left the table to find the restroom.
17          15.     Once he found the restroom, Plaintiff went to open the door, but he found the door
18   opening very narrow and lacking accessible minimum doorway width required by state and
19   federal law. He also saw that the restroom itself was too small for wheelchair users. Since he had
20   an urgent need to use the restroom, he decided to do the best he could under the circumstances.
21          16.     Plaintiff squeezed his wheelchair through the entrance to the restroom, but due to
22   the size and configuration of the restroom, Plaintiff was unable to get his wheelchair all the way
23   into the restroom. His wheelchair was still partially sticking out of the door.
24          17.     Plaintiff needed accessible grab bars to transfer himself to the toilet, but he found
25   that the restroom had none. Due to the lack of grab bars and sufficient turning and side transfer
26   space, Plaintiff was unable to make a side transfer from his wheelchair to the toilet. However,
27   since his need to use the restroom was great, Plaintiff decided to try again to use the facilities. He
28   leaned over as far as he could and attempted to urinate into the toilet, but unfortunately, he still
                                                         5
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
       Case 4:20-cv-08424-HSG Document 1 Filed 11/30/20 Page 6 of 16



 1   got some urine on his clothing. Plaintiff was extremely embarrassed both to have to use the
 2   restroom with the door partly ajar and to have wet his clothing while using the restroom.
 3          18.     When Plaintiff returned from the restroom prior to being served his meal, he had to
 4   sit through his entire dinner with wet clothing to his discomfort and embarrassment.
 5          19.     The above referenced barriers to access are listed without prejudice to Plaintiff
 6   citing additional barriers to access by an amended complaint after inspection by Plaintiff’s access
 7   consultant. Oliver v. Ralphs Grocery Co., 654 F.3d 903 (9th Cir. 2011); Doran v. 7-Eleven, Inc.
 8   524 F.3d 1034 (9th Cir. 2008); Chapman v. Pier One Imports (USA), Inc., 631 F.3d 939 (9th Cir.
 9   2011). All of these barriers to access render the premises inaccessible to physically disabled
10   persons who are mobility impaired, such as Plaintiff, and are barriers Plaintiff may encounter
11   when he returns to the premises. All facilities must be brought into compliance with all
12   applicable federal and state code requirements, according to proof.
13          20.     Further, each and every violation of the Americans with Disabilities Act of 1990
14   also constitutes a separate and distinct violation of California Civil Code section 54(c) and
15   54.1(d), thus independently justifying an award of damages and injunctive relief pursuant to
16   California law, including but not limited to Civil Code sections 54.3 and 55.
17          21.     INJUNCTIVE RELIEF: Plaintiff seeks injunctive relief to prohibit the acts and
18   omissions of Defendants as complained of herein which are continuing on a day-to-day basis and
19   which have the effect of wrongfully excluding Plaintiff and other members of the public who are
20   physically disabled from full and equal access to these public facilities. Such acts and omissions
21   are the cause of humiliation and mental and emotional suffering of Plaintiff in that these actions
22   continue to treat Plaintiff as an inferior and second-class citizen and serve to discriminate against
23   him on the sole basis that he is a person with disabilities who requires the use of a wheelchair or
24   other assistive device for movement in public places.
25          22.     Plaintiff is deterred from returning to use these facilities, because the lack of
26   access will foreseeably cause him further difficulty, discomfort and embarrassment, and Plaintiff
27   is unable, so long as such acts and omissions of Defendants continue, to achieve equal access to
28   and use of these public facilities. Therefore, Plaintiff cannot return to patronize La Tapatia
                                                        6
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
       Case 4:20-cv-08424-HSG Document 1 Filed 11/30/20 Page 7 of 16



 1   Mexican Restaurant and its facilities and is deterred from further patronage until these facilities
 2   are made properly accessible for disabled persons, including Plaintiff and other mobility disabled
 3   persons. Plaintiff lives near La Tapatia Mexican Restaurant. He intends to return and patronize
 4   La Tapatia Mexican Restaurant once it is made accessible, including its restroom and paths of
 5   travel to reach and enter the public restroom.
 6           23.     The acts of Defendants have proximately caused and will continue to cause
 7   irreparable injury to Plaintiff if not enjoined by this Court. Plaintiff seeks injunctive relief as to
 8   all inaccessible areas of the premises that he has personally encountered, and, as to all areas
 9   identified during this litigation by Plaintiff’s access consultant, that he or other physically
10   disabled persons may encounter in the future. Doran v. 7-Eleven, Inc., 524 F.3d 1034 (9th Cir.
11   2008); Chapman v. Pier One Imports (USA), Inc., 631 F. 3d 939 (9th Cir. 2011); Oliver v. Ralphs
12   Grocery Co., 654 F.3d 903 (9th Cir. 2011). As to those of the Defendants that currently own,
13   operate, and/or lease (from or to) the subject premises, Plaintiff seeks preliminary and permanent
14   injunctive relief to enjoin and eliminate the discriminatory practices and barriers that deny full
15   and equal access for disabled persons, and seeks an award of reasonable statutory attorney fees,
16   litigation expenses and costs.
17           24.     Wherefore Plaintiff asks this Court to preliminarily and permanently enjoin any
18   continuing refusal by Defendants to grant full and equal access to Plaintiff in the ways
19   complained of and to require Defendants to comply forthwith with the applicable statutory
20   requirements relating to access for disabled persons. Such injunctive relief is provided by
21   California Health & Safety Code section 19953 and California Civil Code section 55, and the
22   Americans with Disability Act as set forth in the third cause of action and incorporated here.
23   Plaintiff further requests that the Court award damages pursuant to Civil Code section 54.3 and
24   other law and attorney fees, litigation expenses, and costs pursuant to Health & Safety Code
25   section 19953, Civil Code sections 54.3 and 55, Code of Civil Procedure section 1021.5 and other
26   law, all as hereinafter prayed for.
27           25.     DAMAGES: As a result of the denial of full and equal access to the described
28   facilities and due to the acts and omissions of Defendants and each of them in owning, operating,
                                                         7
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
       Case 4:20-cv-08424-HSG Document 1 Filed 11/30/20 Page 8 of 16



 1   leasing, constructing, altering, and maintaining the subject facilities, Plaintiff has suffered a
 2   violation of his civil rights, including but not limited to rights under Civil Code sections 54 and
 3   54.1, and has suffered difficulty, discomfort and embarrassment, and physical, mental and
 4   emotional personal injuries, all to his damages per Civil Code section 54.3, including general and
 5   statutory damages, and treble damages, as hereinafter stated. Defendants’ actions and omissions
 6   to act constitute discrimination against Plaintiff on the basis that he was and is physically disabled
 7   and unable, because of the architectural and other barriers created and/or maintained by the
 8   Defendants in violation of the subject laws, to use the public facilities on a full and equal basis as
 9   other persons. These violations have deterred Plaintiff from returning to attempt to patronize La
10   Tapatia Mexican Restaurant and will continue to cause him damages each day these barriers to
11   access continue to be present.
12          26.     TREBLE DAMAGES: Plaintiff has been damaged by Defendants’ wrongful
13   conduct and seeks the relief that is afforded by Civil Code sections 54, 54.1, and 54.3. At all
14   times herein mentioned, Defendants were fully aware that significant numbers of potential users
15   of their public facilities were and are and will be physically disabled persons, including mobility-
16   impaired persons, and would have need of facilities that complied with California Title 24 and
17   federal ADAAG standards for accessible facilities. Despite this knowledge, Defendants installed
18   and maintained the physical barriers complained of, and failed to remove these barriers, and have
19   failed to provide properly accessible facilities, including but not limited to those previously noted
20   hereinabove, as required by state and federal law. On information and belief, Defendants have
21   ignored complaints about the lack of proper disabled access by Plaintiff and by other disabled
22   persons. They maintained these architectural barriers despite actual knowledge that disabled
23   patrons would be unable to fully access the restaurant. Defendants have continued their illegal
24   and discriminatory practices and policy despite actual knowledge that persons with physical
25   mobility disabilities may have attempted to patronize La Tapatia Mexican Restaurant and
26   encountered illegal barriers which deny them full and equal access when they do so.
27          27.     At all times herein mentioned, Defendants knew, or in the exercise of reasonable
28   diligence should have known, that their barriers and practices at the subject facilities violated
                                                         8
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
       Case 4:20-cv-08424-HSG Document 1 Filed 11/30/20 Page 9 of 16



 1   disabled access requirements and standards, and would have a discriminatory effect upon Plaintiff
 2   and upon other physically disabled persons, but Defendants have failed to rectify the violations,
 3   and presently continue a course of conduct of maintaining architectural and policy barriers that
 4   discriminate against Plaintiff and similarly situated disabled persons. For the foregoing reasons,
 5   Plaintiff alleges that an award of statutory treble damages is appropriate.
 6          28.     FEES AND COSTS: As a result of Defendants’ acts, omissions, and conduct,
 7   Plaintiff has been required to incur attorney fees, litigation expenses, and costs as provided by
 8   statute, in order to enforce Plaintiff’s rights and to enforce provisions of the law protecting access
 9   for disabled persons and prohibiting discrimination against disabled persons. Plaintiff therefore
10   seeks recovery of all reasonable attorney fees, litigation expenses, and costs, pursuant to the
11   provisions of Civil Code sections 54.3 and 55, and California Health & Safety Code section
12   19953. Additionally, Plaintiff’s lawsuit is intended to require that Defendants make their
13   facilities accessible to all disabled members of the public, justifying “public interest” attorney
14   fees, litigation expenses and costs pursuant to the provisions of California Code of Civil
15   Procedure section 1021.5 and other applicable law.
16          WHEREFORE, Plaintiff prays for damages and injunctive relief as hereinafter stated.
17                          SECOND CAUSE OF ACTION:
      VIOLATION OF CALIFORNIA LAW INCLUDING: THE UNRUH ACT, CIVIL CODE
18      SECTIONS 51 AND 52, AND THE AMERICANS WITH DISABILITIES ACT AS
                                  INCORPORATED
19                          BY CIVIL CODE SECTION 51(f)
20          29.     Plaintiff re-pleads and incorporates by reference, as if fully set forth hereafter, the
21   factual allegations contained in Paragraphs 1 through 28 of this Complaint and incorporates them
22   herein as if separately re-pleaded.
23          30.     At all times relevant to this complaint, California Civil Code section 51 has
24   provided that physically disabled persons are free and equal citizens of the state, regardless of
25   medical condition or disability:
26          All persons within the jurisdiction of this state are free and equal, and no matter
            what their sex, race, color, religion, ancestry, national origin, disability, or medical
27          condition are entitled to the full and equal accommodations, advantages, facilities,
            privileges, or services in all business establishments of every kind whatsoever.
28
                                                        9
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
       Case 4:20-cv-08424-HSG Document 1 Filed 11/30/20 Page 10 of 16



 1   Civil Code § 51(b). [Emphasis added.]
 2           31.     California Civil Code section 52 provides that the discrimination by Defendants

 3   against Plaintiff on the basis of his disability constitutes a violation of the general anti-

 4   discrimination provisions of sections 51 and 52.

 5           32.     Each of Defendants’ discriminatory acts or omissions constitutes a separate and

 6   distinct violation of California Civil Code section 52, which provides that:

 7           Whoever denies, aids or incites a denial, or makes any discrimination or distinction
             contrary to section 51, 51.5, or 51.6 is liable for each and every offense for the
 8           actual damages, and any amount that may be determined by a jury, or a court sitting
             without a jury, up to a maximum of three times the amount of actual damage but in
 9           no case less than four thousand dollars ($4,000), and any attorney’s fees that may
             be determined by the court in addition thereto, suffered by any person denied the
10           rights provided in Section 51, 51.5, or 51.6.
11           33.     Any violation of the Americans with Disabilities Act of 1990 also constitutes a

12   violation of California Civil Code section 51(f), thus independently justifying an award of

13   damages and injunctive relief pursuant to California law, including Civil Code section 52. Per

14   Civil Code section 51(f), “A violation of the right of any individual under the Americans with

15   Disabilities Act of 1990 (Public Law 101-336) shall also constitute a violation of this section.”

16           34.     The actions and omissions of Defendants as herein alleged constitute a denial of

17   access to and use of the described public facilities by physically disabled persons within the

18   meaning of California Civil Code sections 51 and 52. As a proximate result of Defendants’

19   action and omissions, Defendants have discriminated against Plaintiff in violation of Civil Code

20   sections 51 and 52, and are responsible for statutory, compensatory and treble damages to

21   Plaintiff, according to proof.

22           35.     FEES AND COSTS: As a result of Defendants’ acts, omissions and conduct,

23   Plaintiff has been required to incur attorney fees, litigation expenses and costs as provided by

24   statute in order to enforce Plaintiff’s rights and to enforce provisions of law protecting access for

25   disabled persons and prohibiting discrimination against disabled persons. Plaintiff therefore

26   seeks recovery of all reasonable attorney fees, litigation expenses and costs pursuant to the

27   provisions of California Civil Code sections 51 and 52. Additionally, Plaintiff’s lawsuit is

28   intended to require that Defendants make their facilities and policies accessible to all disabled
                                                         10
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
       Case 4:20-cv-08424-HSG Document 1 Filed 11/30/20 Page 11 of 16



 1   members of the public, justifying “public interest” attorney fees, litigation expenses and costs
 2   pursuant to the provisions of California Code of Civil Procedure section 1021.5 and other
 3   applicable law.
 4                    WHEREFORE, Plaintiff prays for damages and injunctive relief as hereinafter
 5   stated.
 6                               THIRD CAUSE OF ACTION:
               VIOLATION OF THE AMERICANS WITH DISABILITIES ACT OF 1990
 7                                  42 USC §§ 12181 et seq
 8             36.    Plaintiff re-pleads and incorporates by reference, as if fully set forth again herein,
 9   the allegations contained in Paragraphs 1 through 35 of this Complaint and incorporates them
10   herein as if separately re-pleaded.
11             37.    In 1990 the United States Congress made findings that laws were needed to more
12   fully protect “some 43,000,000 Americans [with] one or more physical or mental disabilities;”
13   that “historically, society has tended to isolate and segregate individuals with disabilities;” that
14   “such forms of discrimination against individuals with disabilities continue to be a serious and
15   pervasive social problem;” that “the Nation’s proper goals regarding individuals with disabilities
16   are to assure equality of opportunity, full participation, independent living, and economic self-
17   sufficiency for such individuals;” and that “the continuing existence of unfair and unnecessary
18   discrimination and prejudice denies people with disabilities the opportunity to compete on an
19   equal basis and to pursue those opportunities for which our free society is justifiably famous...”
20   42 U.S.C. §12101.
21             38.    Plaintiff is a qualified individual with a disability as defined in the Rehabilitation
22   Act and in the Americans with Disabilities Act of 1990.
23             39.    In passing the Americans with Disabilities Act of 1990 (hereinafter “ADA”),
24   Congress stated as its purpose:
25             It is the purpose of this Act
26             (1) to provide a clear and comprehensive national mandate for the elimination of
               discrimination against individuals with disabilities;
27
               (2) to provide clear, strong, consistent, enforceable standards addressing discrimination
28             against individuals with disabilities;
                                                           11
                            COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
       Case 4:20-cv-08424-HSG Document 1 Filed 11/30/20 Page 12 of 16



 1
            (3) to ensure that the Federal Government plays a central role in enforcing the standards
 2          established in this Act on behalf of individuals with disabilities; and
 3          (4) to invoke the sweep of congressional authority, including the power to enforce the
            fourteenth amendment and to regulate commerce, in order to address the major areas of
 4          discrimination faced day-to-day by people with disabilities.
 5   42 USC § 12101(b).
 6          40.     As part of the ADA, Congress passed “Title III - Public Accommodations and

 7   Services Operated by Private Entities” (42 USC § 12181 et seq.). The subject property and

 8   facility is one of the “private entities” which are considered “public accommodations” for

 9   purposes of this title, which includes but is not limited to any “restaurant, bar, or other

10   establishment serving food or drink.” 42 USC § 12181(7)(B).

11          41.     The ADA states that “No individual shall be discriminated against on the basis of

12   disability in the full and equal enjoyment of the goods, services, facilities, privileges, advantages,

13   or accommodations of any place of public accommodation by any person who owns, leases, or

14   leases to, or operates a place of public accommodation.” 42 U.S.C. § 12182. The specific

15   prohibitions against discrimination include, but are not limited to the following:

16   § 12182(b)(1)(A)(ii): “Participation in Unequal Benefit. - It shall be discriminatory to afford an

17   individual or class of individuals, on the basis of a disability or disabilities of such individual or

18   class, directly, or through contractual, licensing, or other arrangements, with the opportunity to

19   participate in or benefit from a good, service, facility, privilege, advantage, or accommodation

20   that is not equal to that afforded to other individuals.”

21   § 12182(b)(2)(A)(ii): “a failure to make reasonable modifications in policies, practices, or

22   procedures when such modifications are necessary to afford such goods, services, facilities,

23   privileges, advantages, or accommodations to individuals with disabilities...;”

24   § 12182(b)(2)(A)(iii): “a failure to take such steps as may be necessary to ensure that no

25   individual with a disability is excluded, denied service, segregated, or otherwise treated

26   differently than other individuals because of the absence of auxiliary aids and services...;”

27   § 12182(b)(2)(A)(iv): “a failure to remove architectural barriers, and communication barriers that

28   are structural in nature, in existing facilities...where such removal is readily achievable;”
                                                         12
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
       Case 4:20-cv-08424-HSG Document 1 Filed 11/30/20 Page 13 of 16



 1   § 12182(b)(2)(A)(v): “where an entity can demonstrate that the removal of a barrier under clause
 2   (iv) is not readily achievable, a failure to make such goods, services, facilities, privileges,
 3   advantages, or accommodations available through alternative methods if such methods are readily
 4   achievable.”
 5   The acts and omissions of Defendants set forth herein were in violation of Plaintiff’s rights under
 6   the ADA and the regulations promulgated thereunder, 28 C.F.R. Part 36 et seq.
 7          42.     The removal of each of the physical barriers complained of by Plaintiff as
 8   hereinabove alleged, were at all times herein mentioned “readily achievable” under the standards
 9   of sections 12181 and 12182 of the ADA. As noted hereinabove, removal of each and every one
10   of the architectural and/or policy barriers complained of herein were already required under
11   California law. Further, on information and belief, alterations, structural repairs or additions
12   since January 26, 1993, have also independently triggered requirements for removal of barriers to
13   access for disabled persons per section 12183 of the ADA. In the event that removal of any
14   barrier is demonstrated by the Defendants to be “not readily achievable,” Defendants still violated
15   the ADA, per section 12182(b)(2)(A)(v) by failing to provide all goods, services, privileges,
16   advantages and accommodations through alternative methods that were “readily achievable.”
17          43.     The ability to use a restroom is a fundamental necessity of accessing and using a
18   restaurant. So too is the ability to enter and exit the facility, and move around the premises
19   unimpeded by bar stools and chairs. Therefore, the benefits of creating a restroom with
20   accessible features do not exceed the costs of readily achievable barrier removal. These costs are
21   fundamental to doing business, like any other essential function of operating a Restaurant, such as
22   the costs of as ensuring fire safety, or hygiene of employees handling food and providing safely
23   consumable food. It is thus readily achievable to remove these barriers.
24          44.     On information and belief, as of the dates of Plaintiff’s encounters at the premises
25   and as of the filing of this Complaint, Defendants’ actions, policies, and physical premises have
26   denied and continue to deny full and equal access to Plaintiff and to other mobility disabled
27   persons in other respects, which violate Plaintiff’s right to full and equal access and which
28   discriminate against Plaintiff on the basis of his disabilities, thus wrongfully denying to Plaintiff
                                                        13
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
       Case 4:20-cv-08424-HSG Document 1 Filed 11/30/20 Page 14 of 16



 1   the full and equal enjoyment of the goods, services, facilities, privileges, advantages and
 2   accommodations, in violation of 42 U.S.C. sections 12182 and 12183 of the ADA.
 3          45.     Defendants’ actions continue to deny Plaintiff’s rights to full and equal access by
 4   deterring Plaintiff from patronizing La Tapatia Mexican Restaurant and discriminated and
 5   continue to discriminate against him on the basis of his disabilities, thus wrongfully denying to
 6   Plaintiff the full and equal enjoyment of Defendants’ goods, services, facilities, privileges,
 7   advantages and accommodations, in violation of section 12182 of the ADA. 42 U.S.C. § 12182.
 8          46.     Pursuant to the Americans with Disabilities Act, 42 U.S.C. sections 12188 et seq.,
 9   Plaintiff JAMES LLEWELLYN entitled to the remedies and procedures set forth in
10   section 204(a) of the Civil Rights Act of 1964, 42 USC 2000(a)-3(a), as Plaintiff is being
11   subjected to discrimination on the basis of his disabilities in violation of sections 12182 and
12   12183 of this title. On information and belief, Defendants have continued to violate the law and
13   deny the rights of Plaintiff and other disabled persons to “full and equal” access to this public
14   accommodation since on or before Plaintiff’s encounters. Pursuant to section 12188(a)(2)
15          [i]n cases of violations of § 12182(b)(2)(A)(iv) and § 12183(a)... injunctive relief
            shall include an order to alter facilities to make such facilities readily accessible to
16          and usable by individuals with disabilities to the extent required by this title. Where
            appropriate, injunctive relief shall also include requiring the provision of an
17          auxiliary aid or service, modification of a policy, or provision of alternative
            methods, to the extent required by this title.
18

19          47.     Plaintiff seeks relief pursuant to remedies set forth in section 204(a) of the Civil
20   Rights Act of 1964 (42 USC 2000(a)-3(a)), and pursuant to Federal Regulations adopted to
21   implement the Americans with Disabilities Act of 1990. Plaintiff JAMES LLEWELLYN is a
22   qualified disabled person for purposes of section 12188(a) of the ADA who is being subjected to
23   discrimination on the basis of disability in violation of Title III and who has reasonable grounds
24   for believing he will be subjected to such discrimination each time that he may use the property
25   and premises, or attempt to La Tapatia Mexican Restaurant, in light of Defendants’ policies and
26   physical premises barriers.
27          WHEREFORE, Plaintiff requests relief as outlined below.
28
                                                       14
                          COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
       Case 4:20-cv-08424-HSG Document 1 Filed 11/30/20 Page 15 of 16



 1                                                 PRAYER
 2            Plaintiff has no adequate remedy at law to redress the wrongs suffered as set forth in this
 3   Complaint. Plaintiff has suffered and will continue to suffer irreparable injury as a result of the
 4   unlawful acts, omissions, policies, and practices of the Defendants as alleged herein, unless
 5   Plaintiff is granted the relief he requests. Plaintiff and Defendants have an actual controversy and
 6   opposing legal positions as to Defendants’ violations of the laws of the United States and the
 7   State of California. The need for relief is critical because the rights at issue are paramount under
 8   the laws of the United States and the State of California.
 9            WHEREFORE, Plaintiff JAMES LLEWELLYN prays for judgment and the following
10   specific relief against Defendants:
11            1.     Issue a preliminary and permanent injunction directing Defendants as current
12   owners, operators, lessors, and/or lessees of the subject property and premises to modify the
13   above described property, premises, policies and related facilities to provide full and equal access
14   to all persons, including persons with physical disabilities; and issue a preliminary and permanent
15   injunction pursuant to ADA section 12188(a) and state law directing Defendants to provide
16   facilities usable by Plaintiff and similarly situated persons with disabilities, and which provide
17   full and equal access, as required by law, and to maintain such accessible facilities once they are
18   provided; to cease any discriminatory policies, and to train Defendants’ employees and agents in
19   how to recognize disabled persons and accommodate their rights and needs;
20            2.     Retain jurisdiction over the Defendants until such time as the Court is satisfied that
21   Defendants’ unlawful policies, practices, acts and omissions, and maintenance of physically
22   inaccessible public facilities and policies as complained of herein no longer occur, and cannot
23   recur;
24            3.     Award to Plaintiff all appropriate damages, including but not limited to statutory
25   damages, general damages, and treble damages in amounts within the jurisdiction of the Court, all
26   according to proof;
27            4.     Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and
28   costs of this proceeding as provided by law;
                                                        15
                           COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
      Case 4:20-cv-08424-HSG Document 1 Filed 11/30/20 Page 16 of 16



 1         5.     Award prejudgment interest pursuant to Civil Code section 3291; and
 2         6.     Grant such other and further relief as this Court may deem just and proper.
 3   Date: November 30, 2020                              REIN & CLEFTON
 4

 5                                                           /s/ Aaron Clefton
                                                          By AARON CLEFTON, Esq.
 6                                                        Attorney for Plaintiff
 7                                                        JAMES LLEWELLYN

 8
                                            JURY DEMAND
 9
           Plaintiff hereby demands a trial by jury for all claims for which a jury is permitted.
10

11
     Date: November 30, 2020                              REIN & CLEFTON
12

13
                                                             /s/ Aaron Clefton
14                                                        By AARON CLEFTON, Esq.
                                                          Attorney for Plaintiff
15
                                                          JAMES LLEWELLYN
16

17

18

19

20

21

22

23

24

25

26

27

28
                                                     16
                        COMPLAINT FOR DECLARATORY AND INJUNCTIVE RELIEF AND DAMAGES
